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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 THE UNITED STATES OF AMERICA,

                       Plaintiff,
                                                  Civil Action No. 20-1580-RCL
 v.

 JOHN R. BOLTON,

                       Defendant.


                                    NOTICE OF APPEARANCE

       Pursuant to LCvR 83.6(a), I, Michael W. Kirk, am admitted to practice law in this Court

and hereby enter my appearance on behalf of Defendant John R. Bolton.

Dated: June 18, 2020                              Respectfully submitted,

                                                  /s/ Michael W. Kirk
                                                  Michael W. Kirk
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